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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

    In re:                                                        Chapter 11

    FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

                 Debtors.                                         (Jointly Administered)

                                                                  Adv. Pro. No. 23-50444 (JTD)
    ALAMEDA RESEARCH LTD. and FTX
    TRADING LTD.,

    Plaintiffs,

                             -against-

    PLATFORM LIFE SCIENCES INC., LUMEN
    BIOSCIENCE, INC., GREENLIGHT
    BIOSCIENCES HOLDINGS, PBC,
    RIBOSCIENCE LLC, GENETIC
    NETWORKS LLC, 4J THERAPEUTICS
    INC., LATONA BIOSCIENCES GROUP,
    FTX FOUNDATION, SAMUEL BANKMAN-
    FRIED, ROSS RHEINGANS-YOO, and
    NICHOLAS BECKSTEAD,

                                         Defendants.


         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that Riboscience LLC and 4J Therapeutics Inc., hereby appears

through its co-counsel, Vorys, Sater, Seymour and Pease, LLP and Ashby & Geddes, P.A. and,

pursuant to Rules 2002, 9007 and 9010 of the Federal Rules of Bankruptcy Procedure and 11

U.S.C. §§ 102(1), 342 and 1109(b), hereby requests that copies of all notices given or required to



1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.


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be given in the above-captioned adversary proceeding and copies of all papers served or required

to be served in the adversary proceeding be provided to the following (email notice is acceptable):

                                   ASHBY & GEDDES, P.A.
                                   Michael D. DeBaecke, Esq.
                                500 Delaware Avenue, 8th Floor
                                 Wilmington, DE 19899-1150
                                      Tel: (302) 654-1888
                              Email: MDeBaecke@ashbygeddes.com

                                                -and-

                       VORYS, SATER, SEYMOUR AND PEASE LLP
                                Tiffany Strelow Cobb, Esq.
                                     52 East Gay Street
                                       P.O. Box 1008
                               Columbus, Ohio 43216-1008
                                Telephone: (614) 464-6400
                                Facsimile: (614) 464-6350
                                E-mail: tscobb@vorys.com

         PLEASE TAKE FURTHER NOTICE that this request includes copies of all filings,

including, but not limited to, notices, reports, pleadings, motions, applications, objections, briefs,

and other papers.

         PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any

other filing by Riboscience LLC and/or 4J Therapeutics Inc. is intended to waive (1) the right to

have final orders in non-core matters entered only after de novo review by the United States

District Court for the District of Delaware (the “District Court”), (2) the right to trial by jury in

any proceeding so triable, (3) the right to have the District Court withdraw the reference in any

matter subject to mandatory or discretionary withdrawal, or (4) any other rights, claims, actions,

defenses, remedies, setoffs, or recoupments to which Riboscience LLC and 4J Therapeutics Inc.

are or may be entitled at law or in equity, all of which are expressly preserved.




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Dated: September 12, 2023              ASHBY & GEDDES, P.A.

                                       /s/ Michael D. DeBaecke
                                       Michael D. DeBaecke (Bar No. 3186)
                                       500 Delaware Avenue, 8th Floor
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                                       -and-

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                                       Counsel to Riboscience LLC and 4J Therapeutics Inc.




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